           Case 1:06-cr-00247-DAD Document 121 Filed 06/18/09 Page 1 of 2




 1   LUPE MARTINEZ, CSB 49620
     Attorney at Law
 2   1010 West Taylor Street
     San Jose, California 95126
 3   (408) 971-4249
     FAX (408) 286-5705
 4   martinez-luna@sbcglobal.net

 5   BERNDT INGO BRAUER
     Attorney at Law
 6   111 West St. John Street, Suite 555
     San Jose, California 95113
 7   (408) 275-1290
     FAX (408) 275-1396
 8   bibrauer@aol.com

 9   Attorneys for Defendant
     GUADALUPE AGUILAR BARRON
10

11
                              IN THE UNITED STATES DISTRICT COURT
12
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
13
                                                (Fresno Division)
14

15   UNITED STATES OF AMERICA,                        )    CR-06-000247-AWI
                                                      )
16                               Plaintiff,           )    ORDER RE:
                                                      )    STIPULATION TO CONTINUE
17             v.                                     )    DAUBERT HEARING;
                                                      )
18   GUADALUPE AGUILAR BARRON                         )
                                                      )
19             Defendant.                             )    Honorable Anthony W. Ishi
                                                      )    United States District Judge
20                                                    )

21          GOOD CAUSE APPEARING,

22          IT IS ORDERED that the hearing presently set for June 22, 2009 pursuant to Daubert v.

23   Merrill Dow, 509 U.S. 579, (1993), is hereby continued to August 3, 2009 at 1:30 p.m.

24   ///

25   ///

26   ///

     Stipulation to Continue Daubert Hearing;        -1-
     Order
        Case 1:06-cr-00247-DAD Document 121 Filed 06/18/09 Page 2 of 2




 1        IT IS FURTHER ORDERED that time is excluded from the date of the filing of the

 2   Daubert motion March 30, 2009 through August 3, 2009, under the Speedy Trial Act, 18

 3   U.S.C. § 3161(h)(1)(A) , and 3161(h)(1)(F) 8)(A) and (B)(I) as well as 18 U.S.C.

 4   3161(h)(B)(iv).

 5
     IT IS SO ORDERED.
 6
     Dated:      June 18, 2009                           /s/ Anthony W. Ishii
 7   0m8i78                                     CHIEF UNITED STATES DISTRICT JUDGE

 8

 9

10

11

12

13

14

15

16

17
18

19

20

21

22

23

24

25

26

     Stipulation to Continue Daubert Hearing;        -2-
     Order
